        Case 5:18-cv-00006-LGW-RSB Document 3 Filed 01/30/18 Page 1 of 7



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  Choose an item.DIVISION
                                   WAYCROSS       DIVISION


EDWARD SCOTT, ET AL


                                                      CIVIL ACTION NO.: 5:18-cv-6
                    Plaintiffs,
           v.
NORTH AMERICAN INNS, LLC, ET
AL

                   Defendants.


                                  RULE 26 INSTRUCTION ORDER

           The above captioned case having recently been filed in this Court, the Court issues the

   following Order to provide instructions to the parties regarding their initial discovery obligations

   and to institute initial case management proceedings.

   I.      Rule 26(f) Conference

           Federal Rule of Civil Procedure 26(f) requires the parties to confer, develop a proposed

   discovery plan, and submit a report to this Court. Subsequent to the filing of the report, a

   Scheduling Order must be entered pursuant to Federal Rule of Civil Procedure 16(b). Therefore,

   by the earlier of (1) sixty (60) days after any defendant has been served with the complaint;

   or (2 ) forty-five (45) days after any defendant has appeared, the parties shall confer as

   provided in Rule 26(f). See L.R. 26.1(a).1

           During the Rule 26(f) Conference, the parties shall discuss the nature and bases of their

   claims and defenses, the possibilities for a prompt settlement or resolution of the case, and the

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        The Rule 26(f) Conference may be held telephonically and should be attended by any unrepresented
   parties and counsel for any represented parties.
      Case 5:18-cv-00006-LGW-RSB Document 3 Filed 01/30/18 Page 2 of 7



scope, type, manner, and costs of discovery. The parties shall also make or arrange for the

disclosures required by Rule 26(a)(l), and develop their joint proposed scheduling/discovery

plan. These are only the minimum requirements for the meeting. The parties are encouraged to

have a comprehensive discussion and are required to approach the meeting cooperatively and in

good faith. The discussion of claims and defenses shall be a substantive, meaningful discussion.

In addressing settlement or early resolution of the case, counsel are required to explore the

feasibility of alternative dispute resolution not only between themselves, but with their clients as

well.

II.      Rule 26 Report

         Within fourteen (14) days after the required conference held pursuant to Rule 26(f), the

parties shall submit to the Court a written Report of their Conference that outlines their discovery

plan. See L.R. 26.1(b). The Report shall conform to the language and format of the Form Rule

26(f) Report for use in Chief Judge Wood/Judge Baker Rule cases located on the Court’s website

www.gas.uscourts.gov under “Forms.”          The parties should use that Form as well as this

Instruction Order to guide their discussion at their Rule 26(f) Conference. The parties should

work together to prepare this Report, and the deadlines in the Report should be mutually

agreeable, with a view to achieving resolution of the case with a minimum of expense and delay.

To the extent the parties cannot agree on an item in the Report, they should so indicate on the

Report. A party who cannot gain the cooperation of any other party in preparing the Rule 26(f)

Report should advise the Court prior to the due date of the Report of the other party’s failure to

cooperate.

         Should any party seek a stay of discovery or of their obligation to file the Rule 26 Report,

or seek the extension of any other deadline in this case (including an extension of discovery or of




                                                  2
    Case 5:18-cv-00006-LGW-RSB Document 3 Filed 01/30/18 Page 3 of 7



a deadline to respond to a motion or file any other pleading), the party should first contact all

other parties and determine if the other parties join in, consent to, or oppose the request. When

filing the motion for an extension, the party requesting the extension must state in their motion

whether the other parties join in, consent to, or oppose the request for a stay or an extension.

III.     Electronically Stored Information

         During the Rule 26(f) Conference, the parties shall specifically discuss the preservation

and production of electronically stored information. That discussion shall include, as to each

party:

         a. What electronic sources and records the party maintains and how the party’s
            electronic data and records are stored;

         b. The electronic sources and records each party will search, and the method of search
            that will be used (including any search terms);
            
         c. The difficulty/ease of retrieving various data and information, and who will bear the
            costs of retrieval and production;

         d. The format and media agreed to by the parties for the production of electronically
            stored information (including any production of meta-data) as well as agreed
            procedures for such production;

         e. The persons most familiar with the party’s computer and electronic storage system
            and the persons who are responsible for preservation of electronically stored
            information, including any third parties who may have access to or control over any
            such information;

         f. Whether reasonable measures have been implemented to preserve data including the
            party’s document retention/destruction policy, whether the party has placed a
            “litigation hold” preventing destruction of potentially relevant records, and whether
            the issuance of a preservation order is required; and

         g. The extent to which search and disclosure of electronic data should be limited to that
            which is available in the normal course of business, or otherwise, and the anticipated
            scope, cost, and time required for search and disclosure of such information beyond
            that which is available in the normal course of business.
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                                                  3
     Case 5:18-cv-00006-LGW-RSB Document 3 Filed 01/30/18 Page 4 of 7




IV.     Privileged, Protected, and/or Confidential Information

        During the Rule 26(f) Conference, the parties shall discuss specifically the discovery and

production of privileged, protected, and/or confidential information.      That discussion shall

include:

        a. What methods the parties will employ to assert claims of privilege, protection, or
           confidentiality, including the form and substance of any privilege logs;

        b. Whether the parties anticipate discovery issues or challenges arising from non-
           disclosure of allegedly privileged, protected, or confidential information;

        c. Whether reasonable date ranges should be established after which privilege log
           entries for privileged, protected, or confidential information need not be made;

        d. Whether the parties will request a protective order to prevent the further release of
           information disclosed in discovery; and

        e. As contemplated by Rule 502(e) of the Federal Rules of Evidence, whether there is a
           need for the terms of any agreement regarding disclosure of privileged attorney-
           party communications or confidential work product to be incorporated into a court
           order, and whether the parties will seek court approval of any such agreement.

V.      Scheduling Conference

        The Court may hold a Scheduling Conference after receipt of the parties’ Rule 26(f)

Report and before issuing a Scheduling Order. At that conference, the Court will discuss in

detail the parties’ proposed discovery plan and scheduling order as well as any issues the parties

raise in their Rule 26(f) Report. This Conference need only be attended by counsel and by any

unrepresented parties. The Court requires that lead counsel and any unrepresented parties attend

the Scheduling Conference in person but will allow appearance via telephone upon a showing of

good cause. The Scheduling Conference should be held no more than twenty (20) days after the

submission of the parties’ Rule 26 Report.




                                                4
   Case 5:18-cv-00006-LGW-RSB Document 3 Filed 01/30/18 Page 5 of 7



VI.      Form of Electronic Filings

         The parties are directed to read and follow the Court’s revised Administrative Procedures

for Filing, Signing, and Verifying Pleadings and Papers by Electronic Means, available on the

Court’s website, www.gas.uscourts.gov. Documents in their native format such as Word or

WordPerfect must be converted into a text-searchable PDF before filing. Most word processing

applications allow publishing or converting to PDF within the application. There are also

commercial and free PDF converters available for use. Participants should not print and scan

electronic documents for submission into CM/ECF. Documents should not be scanned prior to

e-filing unless the original documents are unavailable in electronic format or require original

signature. Attachments not available in electronic format shall be scanned by the filer into PDF

format for electronic submission. The participant is responsible for the legibility of the uploaded

image. For assistance with conversion or scanning, contact the CM/ECF Helpdesk at 912-650-

4010 or ecf_web@gasd.uscourts.gov.

VII.     Resolution of Discovery Disputes

         It is hereby ORDERED that the following steps be undertaken by all parties prior to the

filing of any discovery motions including, but not limited to, a motion to compel, motion to

quash, motion for a protective order, or motion for sanctions.

      1. The parties are strongly encouraged to informally resolve all discovery issues and

         disputes without the necessity of Court intervention. In that regard, the parties are first

         required to confer and fully comply with Rules 26(c)(1) and 37(a)(2) of the Federal Rules

         of Civil Procedure, and Local Rule 26.5, by undertaking a sincere, good faith effort to try

         to resolve all differences without Court action or intervention.




                                                  5
    Case 5:18-cv-00006-LGW-RSB Document 3 Filed 01/30/18 Page 6 of 7



    2. In the event that reasonable, good faith efforts have been made by all parties to confer

       and attempt to resolve any differences, without success, the parties are then required to

       schedule a telephonic conference with the Magistrate Judge in an effort to try to resolve

       the discovery dispute prior to the filing of any motions.2 The parties shall exhaust the

       first two steps of the process before any motions, briefs, memorandums of law, exhibits,

       deposition transcripts, or any other discovery materials are filed with the Court.

    3. If the dispute still cannot be resolved following a telephonic conference with the

       Magistrate Judge, then the Court will entertain a discovery motion. In connection with

       the filing of any such motions, the moving party shall submit the appropriate

       certifications to the Court as required by Federal Rules of Civil Procedure Rules 26(c)(1)

       and 37(a)(2).

    4. The Court will refuse to hear any discovery motion unless the parties have made a

       sincere, good faith effort to resolve the dispute and all of the above-identified steps have

       been strictly complied with. A failure to fully comply with all of the prerequisite steps

       may result in a denial of any motion with prejudice and may result in an award of costs

       and reasonable attorney’s fees.

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    The parties may schedule such a conference by contacting the Magistrate Judge’s Courtroom Deputy
Clerk.


                                                 6
   Case 5:18-cv-00006-LGW-RSB Document 3 Filed 01/30/18 Page 7 of 7



                                        CONCLUSION

       Plaintiff’s counsel, or if applicable, the pro se plaintiff, shall ensure that a copy of this

Order is served upon all parties without delay.

                        30th day
       SO ORDERED, this 31st day of
                                 of January,
                                     January, 2017.
                                              2018.




                                      R. STAN BAKER
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




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